                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:12-CR-00386-RJC-DSC


UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
                                                  )                      ORDER
v.                                                )
                                                  )
DANIELLE C. LAURENTI,                             )
                                                  )
                 Defendant.                       )



       THIS MATTER is before the Court on the Defendant’s “Application for Admission to

Practice Pro Hac Vice [for G. Derek Andreson]” (document # 69) filed July 1, 2013. For the

reasons set forth therein, the Motion will be granted.


       The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel; and to the Honorable Robert J. Conrad, Jr..


       SO ORDERED.


                                                Signed: July 1, 2013




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